  Case 17-60631          Doc 60       Filed 09/26/19 Entered 09/26/19 13:32:56            Desc Main
                                       Document     Page 1 of 12


                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF MINNESOTA

In RE:

         TRACY A. HAZELTON,                                        Case No.: 17-60631
         NATALIE L. HAZELTON,                                      Chapter 7

                          Debtors.

                     NOTICE OF SALE, ABANDONMENT, LEASE OR SETTLEMENT

To:      The United States Trustee, all creditors and other parties in interest.

On October 21, 2019, or as soon thereafter as the transaction may be completed, the undersigned
Trustee of the Estate of the Debtors named above will settle a controversy as follows:

         The Trustee will settle the bankruptcy estate’s interest in an alleged preference to Citibank,
         N.A., in the amount of $1,597.16 for a payment of $1,000.00 from Citibank, N.A. Given that
         the cost of litigation is being avoided, the Trustee believes this settlement to be in the best
         interest of the bankruptcy estate.

OBJECTION: MOTION: HEARING. Under the applicable rules, any objection must be in writing, be
delivered to the Trustee and the United States Trustee, and be filed with the Clerk, not later than
12:00 o’clock noon on the day before the above date. If an objection is made or an order is
required, the Trustee moves the court for such orders as may be necessary and appropriate. If an
objection is timely delivered and filed, the Court will hold an expedited hearing on the objection
with reduced notice of the hearing. The hearing will be scheduled by the Trustee with notice by
the Trustee to the objecting party and the United States Trustee.
Clerk of Court                          United States Trustee              David G. Velde, Trustee
United States Bankruptcy Court          1015 US Courthouse                 1118 Broadway
515 W. First Street                     300 South 4th Street               Alexandria, MN 56308
Room 404                                Minneapolis, MN 55415              (320) 763-6561
Duluth, MN 55802

Dated: September 26, 2019                                   /e/ David G. Velde, Trustee




T:\BMSW\QUIKDOCS\17-60631\17-60631 settlement re Citi.wpd
             Case 17-60631         Doc 60      Filed 09/26/19 Entered 09/26/19 13:32:56                 Desc Main
                                                Document     Page 2 of 12




                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MINNESOTA

IN RE: TRACY A HAZELTON                                         CASE NO: 17-60631
       NATALIE L HAZELTON                                       DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 9/26/2019, I did cause a copy of the following documents, described below,
NOTICE OF SETTLEMENT RE CITI




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 9/26/2019
                                                          /s/ DAVID G. VELDE TRUSTEE
                                                          DAVID G. VELDE TRUSTEE

                                                          1118 BROADWAY
                                                          ALEXANDRIA, MN 56308
                                                          320 763 6561
                 Case 17-60631           Doc 60       Filed 09/26/19 Entered 09/26/19 13:32:56                       Desc Main
                                                       Document     Page 3 of 12




                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF MINNESOTA

 IN RE: TRACY A HAZELTON                                                CASE NO: 17-60631
        NATALIE L HAZELTON
                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 9/26/2019, a copy of the following documents, described below,

NOTICE OF SETTLEMENT RE CITI




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 9/26/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            DAVID G. VELDE TRUSTEE

                                                                            1118 BROADWAY
                                                                            ALEXANDRIA, MN 56308
             Case AS
PARTIES DESIGNATED 17-60631      DocNOT
                      "EXCLUDE" WERE  60 SERVED
                                           FiledVIA
                                                  09/26/19
                                                    USPS FIRST Entered   09/26/19 13:32:56 Desc Main
                                                                CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document          Page 4 of 12
CASE INFO                                ALLY FINANCIAL INC                       ASSOCIATED BANK NATIONAL ASSOCIATION
1LABEL MATRIX FOR LOCAL NOTICING         RIEZMAN BERGER PC                        CO WINTHROP WEINSTINE PA
08646                                    7700 BONHOMME 7TH FLOOR                  ATTN- DANIEL C BECK
CASE 17-60631                            ST LOUIS MO 63105-1960                   225 SOUTH SIXTH STREET
DISTRICT OF MINNESOTA                                                             SUITE 3500
FERGUS FALLS                                                                      MINNEAPOLIS MN 55402-4629
THU SEP 26 11-30-37 CDT 2019



JOHN DEERE CONSTRUCTION    FORESTRY      KING ELECTRIC LLC                        PICKETT DEMUTH LTD
COMPANY                                  CO TURMAN LANG LTD                       115 N COURT STREET
6400 NW 86TH ST                          505 N BROADWAY SUITE 207                 FERGUS FALLS MN 56537-2106
JOHNSTON IA 50131-2945                   PO BOX 110
                                         FARGO ND 58107-0110




FERGUS FALLS    ST PAUL                  1 29 TRUCK SHOP                          3 D SPECIALTIES INC
200 WARREN E BURGER FEDERAL BUILDING     1539 32ND AVE                            PO BOX 1615
AND                                      BROOKINGS SD 57006-4731                  FARGO, ND 58107-1615
U S COURTHOUSE
316 N ROBERT ST
ST PAUL MN 55101-1495




A 1 AUTOMOTIVE SERVICE                   ACME TOOLS                               ADVANCE GARAGE DOOR INC
2627 16TH AVENUE S                       PO BOX 13720                             PO BOX 3011
MOORHEAD MN 56560-3825                   GRAND FORKS ND 58208-3720                FARGO ND 58108-3011




ADVANCED STRIPINGSEALCOATING             AGC OF ND                                AGGREGATE INDUSTRIES
4711 6TH ST W                            PO BOX 1624                              800 HOLIDAY DRIVE
WEST FARGO ND 58078-4600                 BISMARCK ND 58502-1624                   UNIT 240
                                                                                  MOORHEAD MN 56560-4400




AGGREGATE INDUSTRIES MWR INC             AGGREGATE INDUSTRIES INC                 ALLY
HALPERN LAW FIRM PLLC                    28098 NETWORK PLACE                      PO BOX 9001948
10 SOUTH FIFTH ST STE 400                CHICAGO IL 60673-1280                    LOUISVILLE KY 40290-1948
MPLS MN 55402-1021




AMERICAN ENTERPRISES                     AMERICAN LOGISTICS                       ANYTIME MOBILE TRUCK SERVICE
310 7TH STREET NW                        PO BOX 7005                              1920 25TH ST SOUTH
WEST FARGO ND 58078-1165                 FARGO ND 58106-7005                      MOORHEAD MN 56560-3859




ASSOCIATED BANK                          ASSOCIATED BENEFITS RISK                 ALLY BANK
WINTHROP WESINSTINE PA                   7555 MARKET PLACE DR                     PO BOX 130424
225 SOUTH SIXTH ST STE 3500              EDEN PRAIRIE MN 55344-3637               ROSEVILLE MN 55113-0004
MINNEAPOLIS MN 55402-4629




AMERICREDIT FINANCIAL SERVICS DBA GM     ASSOCIATED BANK NATIONAL ASSOCIATION     BL PLUMBING EXCAVATING
FINAN                                    WINTHROP WEINSTINE PA MAR                409 5TH AVE E
PO BOX 183853                            225 SOUTH SIXTH STREET SUITE 3500        LISBON ND 58054-4651
ARLINGTON TX 76096-3853                  MINNEAPOLIS MN 55402-4629
             Case AS
PARTIES DESIGNATED 17-60631      DocNOT
                      "EXCLUDE" WERE  60 SERVED
                                           FiledVIA
                                                  09/26/19
                                                    USPS FIRST Entered   09/26/19 13:32:56 Desc Main
                                                                CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document          Page 5 of 12
BARTON SAND GRAVEL CO                    BAUER BUILT INC                          BECKER COUNTY COURTHOUSE
PO BOX 1480                              902 38TH ST N                            913 LAKE AVE
MAPLE GROVE MN 55311-6480                FARGO ND 58102-2914                      DETROIT LAKES MN 56501-3403




BELL STATE BANK                          BEMOBILE                                 BERTS TRUCK EQUIPMENT INC
3100 13TH AVE SOUTH                      3350 13TH AVE S                          PO BOX 336
FARGO ND 58103-3507                      FARGO ND 58103-3576                      MOORHEAD MN 56561-0336




BIERSCHBACH EQUIPMENT                    BIG CHIEF INC                            BLUE CROSS BLUE SHIELD OF ND
PO BOX 1444                              22518 BIG CHIEF ROAD                     PO BOX 6005
SIOUX FALLS SD 57101-1444                FERGUS FALLS MN 56537-8211               FARGO ND 58108-6005




BOHNENKAMP CONSTRUCTION                  BORDER STATES PAVING INC                 BRAUN INTERTEC CORPORATION
PO BOX 455                               PO BOX 2586                              NW 7644
557 HWY 13 EAST                          FARGO ND 58108-2586                      PO BOX 55485-1450
GWINNER ND 58040-0455                                                             MINNEAPOLIS, MN 55485-1450




BRENCO CORPORATION                       BROCK WHITE CONST MATERIALS              BUTLER MACHINERY COMPANY
PO BOX 240                               1425 41ST NW                             PO BOX 9559
WEST FARGO ND 58078-0240                 FARGO ND 58102-2822                      FARGO ND 58106-9559




BELL BANK                                CABLE ONE                                CAPITAL ONE NA
FKA BELL STATE BANK   TRUST              PO BOX 790408                            PO BOX 71067
3100 13TH AVE S                          PHOENIX AZ 85062                         CHARLOTTE NC 28272
FARGO ND 58103-3507




US BANK                                  CATEPILLAR FINANCIAL                     CELLULAR COMMUNICATIONS INC
PO BOX 5229                              PO BOX 905010                            PO BOX 9858
CINCINNATI OH 45201-5229                 CHARLOTTE NC 28290-5010                  FARGO ND 58106-9858




CERTIFIED LABORATORIES                   CHS NORTHERN PLAINS                      CITY OF LAKE PARK
23261 NETWORK PLACE                      PO BOX 155                               PO BOX 239
CHICAGO IL 60673-1232                    ASHLEY ND 58413-0155                     LAKE PARK MN 56554-0239




CITY OF MOORHEAD                         CLAY COUNTY COURTHOUSE                   CNH INDUSTRIAL CAPITAL AMERICA
PO BOX 779                               807 11T STREET NORTH                     PO BOX 3600
MOORHEAD MN 56561-0779                   MOORHEAD MN 56560-2069                   LANCASTER PA 17604-3600
             Case AS
PARTIES DESIGNATED 17-60631      DocNOT
                      "EXCLUDE" WERE  60 SERVED
                                           FiledVIA
                                                  09/26/19
                                                    USPS FIRST Entered   09/26/19 13:32:56 Desc Main
                                                                CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document          Page 6 of 12
COMENITY                                 COPY KAT PRINTING INC                    COUGAR TREE CARE INC
PO BOX 659569                            1624 MAIN AVE S                          8104 GEMINI CIRCLE
SAN ANTONIO TX 78265-9569                MOORHEAD MN 56560-3066                   FARGO ND 58104-7906




CAPITAL ONE BANK USA NA                  DAKOTA FENCE                             DAKOTA FENCE
PO BOX 71083                             1110 25TH AVE N                          PO BOX 1408
CHARLOTTE NC 28272-1083                  FARGO ND 58102-1897                      FARGO ND 58107-1408




DAKOTA HOSE FITTINGS LP                  DAKOTA SUPPLY GROUP                      DAKOTA SUPPLY GROUP INC
PO BOX 2220                              PO BOX 2886                              2601 3RD AVE NORTH
FARGO ND 58108-2220                      MINNEAPOLIS MN 55402-0886                FARGO ND 58102-4016




DAKOTALAND AUTOGLASS INC                 DAVIDSON CONSTRUCTION INC                DEANS BULK SERVICE INC
4502 15TH AVE N SUITE B                  65 STATE ST                              PO BOX 249
FARGO ND 58102-2866                      NEWFOLDEN MN 56738-3000                  BARNESVILLE MN 56514-0249




DICKEY RURAL NETWORKS                    DOUG MJOLNESS CONSTRUCTION               DYLAN THOMPSON
PO BOX 69                                11557 HWY 10                             1402 13TH ST W APT 308
ELLENDALE ND 58436-0069                  GLYNDON MN 56547-9587                    WEST FARGO ND 58078-4830




ECLIPTIC TECHNOLOGIES INC                EL ZAGAL SHRINE CIRCUS                   EQUIP TRANS SAND GRAVEL INC
403 CENTER AVE STE 704                   1429 N 3RD ST                            CONCEPT FINANCIAL GROUP
MOORHEAD MN 56560-1947                   FARGO ND 58102-2743                      PO BOX 490700
                                                                                  MINNEAPOLIS MN 55449-0700




EVCO PETROLEUM PRODUCTS INC              FARGO PARTS AND EQUIPMENT INC            FARMERS UNION OIL
PO BOX 1726                              4408 MAIN AVENUE                         PO BOX 373
DETROIT LAKES MN 56502-1726              FARGO ND 58103-1130                      THIEF RIVER FALLS MN 56701-0373




FARSTAD OIL INC                          FASTENAL COMPANY                         FERGUSON WATERWORKS
NE 7948                                  PO BOX 978                               PO BOX 802817
PO BOX 1450                              WINONA MN 55987-0978                     CHICAGO IL 60680-2817
MINNEAPOLIS MN 55485-1450




FISHER SAND GRAVEL CO                    FM BUILDERS EXCHANGE                     FM DRAPERIES LLC
PO BOX 1034                              PO BOX 10076                             302 US 75
DICKINSON ND 58602-1034                  FARGO ND 58106-0076                      MOORHEAD MN 56560-2474
             Case AS
PARTIES DESIGNATED 17-60631      DocNOT
                      "EXCLUDE" WERE  60 SERVED
                                           FiledVIA
                                                  09/26/19
                                                    USPS FIRST Entered   09/26/19 13:32:56 Desc Main
                                                                CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document          Page 7 of 12
FORD CREDIT                              FORTERRA BUILDING PRODUCTS               FOUR SEASONS ENTERPRISES
PO BOX 552679                            PO BOX 74008199                          PO BOX 7037
DETROIT MI 48255-2679                    CHICAGO IL 60674-8199                    FARGO ND 58106-7037




FRAN HEITKAMP                            FRANCIS J HEITKAMP                       FREDRIKSON BYRON PA
PO BOX 9057                              5635 COUNTY RD 3                         200 S 6TH ST
FARGO ND 58106-9057                      KINDRED ND 58051-9523                    STE 4000
                                                                                  MINNEAPOLIS MN 55402-1425




FIRST BANKCARD                           FIRST NATIONAL BANK OF OMAHA             GK SERVICES
PO BOX 2557                              1620 DODGE STREET STOP CODE 3105         PO BOX 824385
OMAHA NE 68103-2557                      OMAHA NE 68197-0002                      BOSTON MA 02284




GENERAL EQUIP SUPPLIES INC               GM FINANCIAL                             HH TRANSPORT LLC
PO BOX 2145                              PO BOX 79143                             PO BOX 186
FARGO ND 58107-2145                      PHOENIX AZ 85062-9143                    MOORHEAD MN 56561-0186




HS CONTRACTING INC                       HAMRE REPAIR LLC                         HANSEN BROS FENCE
1506 MAIN AVE 105                        4516 ADAMS DR                            319 ULYSSES ST NE
MOORHEAD MN 56560-3053                   FARGO ND 58102-5416                      MINNEAPOLIS MN 55413-2602




HARVEY SAND GRAVEL INC                   HCSS                                     HEARTLAND PROFESSIONAL CENTRE
PO BOX 213                               1351 W AIRPORT BLVD                      1506 MAIN AVE SUITE 101
HARVEY ND 58341-0213                     SUGAR LAND TX 77478                      MOORHEAD MN 56560-3053




HIGH POWER CRANE INC                     HOME BUILDERS ASSOC                      HOUSTON ENGINEERING INC
PO BOX 183                               OF FARGO MOORHEAD                        1401 21ST AVE NORTH
WEST FARGO ND 58078-0183                 1802 32ND AVE SOUTH                      FARGO ND 58102-1814
                                         FARGO ND 58103-6747




HOUSTON ENGINEERING INC                  INDUSTRIAL BUILDERS INC                  INTERNAL REVENUE SERVICE
1401 21ST AVE N                          PO BOX 406                               PO BOX 7346
FARGO ND 58102-1814                      FARGO ND 58107-0406                      PHILADELPHIA PA 19101-7346




INTERNAL REVENUE SERVICE                 JR LARSON GROUNDS MAINTENANCE            JD KRAEMER ENTERPRISES LLC
CENTRALIZED INSOLVENCY OPERATIONS        21716 KENRICK AVE STE 5                  PO BOX 2303
PO BOX 7346                              LAKEVILLE MN 55044-8039                  FARGO ND 58108-2303
PHILADELPHIA PA 19101-7346
             Case AS
PARTIES DESIGNATED 17-60631      DocNOT
                      "EXCLUDE" WERE  60 SERVED
                                           FiledVIA
                                                  09/26/19
                                                    USPS FIRST Entered   09/26/19 13:32:56 Desc Main
                                                                CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document          Page 8 of 12
JDP ELECTRIC INC                         CJESSE KRUMP TRUCKING                    JIFFY JONS INC
803 28TH ST S                            312 3RD ST SW                            PO BOX 310
FARGO ND 58103-2364                      HANKINSON ND 58041-4432                  PELICAN RAPIDS MN 56572-0310




JIM AND LESLIE SULLIVAN                  JIMMY JOHNNYS INC                        JOBSHQ
CO GREG ANDERSON BROKER                  39578 GRAND AVENUE                       PO BOX 6024
11737 COUNTY HIGHWAY 5                   NORTH BRANCH MN 55056-5007               FARGO ND 58108-6024
LAKE PARK MN 56554-9145




JOHN DEERE FINANCIAL                     JOHNSEN TRAILER SALES INC                JOHNSON JET LINE INC
PO BOX 4450                              PO BOX 1516                              16275 HWY 27 WEST
CAROL STREAM IL 60197-4450               BISMARCK ND 58502-1516                   KENSINGTON MN 56343-8231




JR TRANSPORT                             KW BORING INC                            KALER DOELING PLLP
1009 3RD AVE NE 104                      15501 W HIGHWAY 31                       PO BOX 9231
DILWORTH MN 56529-2102                   SPRINGFIELD NE 68059-4857                FARGO ND 58106-9231




KEY CONTRACTING INC                      KINETIC LEASING INC                      KING ELECTRIC LLC
245 7TH AVE NE                           PO BOX 9785                              7613 UNIVERSITY DR S
WEST FARGO ND 58078-1002                 FARGO ND 58106-9785                      FARGO ND 58104-8016




KODRU EQUIPMENT INC                      KOMATSU FINANCIAL LIMITED PARTNERSHIP    KOTACO FUEL PROPANE
3650 N CHESTNUT ST                       1701 W GOLF ROAD SUITE 1300              1902 7TH AVE N
CHASKA MN 55318-3044                     ROLLING MEADOWS IL 60008-4208            FARGO ND 58102-3206




KING ELECTRIC LLC                        LABORERS FRINGE BENEFIT FUNDS            LAKESHORE RV PARK INC
TURMAN LANG LTD                          PO BOX 124                               39445 LAKESHORE RV PARK RD
ATTN- KATRINA TURMAN LANG                MINNEAPOLIS MN 55440-0124                ORTONVILLE MN 56278-3203
PO BOX 110
FARGO ND 58107-0110




LAMPERT YARDS US LBM LLC                 LANDMARK COMPANIES                       LARSON HELICOPTERS INC
4115 32ND AVE SW                         302 HWY 75 N                             PO BOX 186
FARGO ND 58104-8609                      MOORHEAD MN 56560-2474                   PERHAM MN 56573-0186




LESMEISTER GRAVEL INC                    LG EVERIST INC                           LOCAL 49 FRINGE FUNDS
7733 134TH AVE SE                        PO BOX 86                                PO BOX 313
LISBON ND 58054-9420                     MINNEAPOLIS MN 55486-0086                MINNEAPOLIS MN 55440-0313
             Case AS
PARTIES DESIGNATED 17-60631      DocNOT
                      "EXCLUDE" WERE  60 SERVED
                                           FiledVIA
                                                  09/26/19
                                                    USPS FIRST Entered   09/26/19 13:32:56 Desc Main
                                                                CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document       Page 9 of 12
LUTHER FORD                              LAMPERT YARDS   US LBM LLC               MJ AUTO PARTS INC
3302 36TH ST S                           1850 COMO AVENUE                         2301 MAIN AVE
FARGO ND 58104-5181                      ST PAUL MN 55108-2715                    FARGO ND 58103-1399




MACS INC                                 MARK HENRY                               MARTIN OIL CO
5979 50TH AVE S                          1218 18TH STREET S                       PO BOX 1
MOORHEAD MN 56560                        MOORHEAD MN 56560-3127                   BROOKINGS SD 57006-0001




MELISSA TRONSON                          MELLISSA JACOBSON                        MERCHANTS BANK EQUIP FINANCE
302 14TH ST S                            2633 7TH STREET W                        MESSERLI KRAMER PA
MOORHEAD MN 56560-2956                   WEST FARGO ND 58078-3064                 100 S FIFTH ST STE 1400
                                                                                  MINNEAPOLIS MN 55402-1217




MIDWEST LANDSCAPING                      MILLER AIR CONSTRUCTION                  MINNEAPOLIS CONCRETE RECYCLER
PO BOX 7034                              425 MAUST WAY                            8297 BROOKLYN BLVD STE 2
FARGO ND 58106-7034                      HORACE ND 58047-4519                     MINNEAPOLIS MN 55445-2301




MN CHILD SUPPORT CENTER                  MN DEPT OF EMPLOYMENT ECON               MOORHEAD PUBLIC SERVICE
PO BOX 64306                             332 MINNESOTA STREET                     PO BOX 779
SAINT PAUL MN 55164-0306                 STE E200                                 MOORHEAD MN 56561-0779
                                         SAINT PAUL MN 55101-1349




MUTUAL OF OMAHA                          NARDINI FIRE EQUIPMENT                   NELSON INTERNATIONAL
PO BOX 36469                             PO BOX 9707                              PO BOX 2532
NEWARK NJ 07188-6406                     FARGO ND 58106-9707                      FARGO ND 58108-2532




NELSON LEASING                           NETWORK CENTER COMMUNICATION             NORMAN COUNTY HIGHWAY DEPT
PO BOX 993                               2536 W MAIN AVE                          814 EAST MAIN STREET
WILLMAR MN 56201-0993                    WEST FARGO ND 58078-1310                 ADA MN 56510-1318




NORTH DAKOTA CHILD SUPPORT               NORTH STAR TRUCK WASH INC                NORTHERN ENGINE SUPPLY INC
PO BOX 7280                              990 35TH ST N                            PO BOX 16285
BISMARCK ND 58507-7280                   FARGO ND 58102-3089                      DULUTH MN 55816-0285




NORTHERN GEOTEXTILES INC                 NORTHERN PLAINS CONTRACTING              NORTHSTAR SAFETY INC
2714 MAIN AVE                            PO BOX 10                                794 WEST MAIN AVE
FARGO ND 58103-6819                      WOLVERTON MN 56594-0010                  WEST FARGO ND 58078-1124
             Case AS
PARTIES DESIGNATED 17-60631      DocNOT
                      "EXCLUDE" WERE  60 SERVED
                                           FiledVIA
                                                  09/26/19
                                                    USPS FIRST Entered   09/26/19 13:32:56 Desc Main
                                                                CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                            Document       Page 10 of 12
NORTH CENTRAL RENTAL     LEASING LLC     OBERG CONTRACTING LLC                    OBERG CONTRACTING LLC
PO BOX 9559                              3686 80TH ST N                           7726 43RD AVE N
FARGO ND 58106-9559                      GLYNDON MN 56547-9421                    GLYNDON MN 56547-9422




ODAY EQUIPMENT                           OPATRIL CONCRETE CONSTRUCTION            OTTOS WELDING MACHINE SHOP
PO BOX 2706                              2635 20TH AVE S                          1920 SOUTH 23RD ST
FARGO ND 58108-2706                      MOORHEAD MN 56560-5925                   MOORHEAD MN 56560-3899




PARAS CONTRACTING INC                    PEMBERTON LAW FIRM                       PERSONAL TOUCH INC
PO BOX 9973                              110 N MILL STREET                        2600 24TH AVE S
FARGO ND 58106-9973                      FERGUS FALLS MN 56537-2135               MOORHEAD MN 56560-5907




PFAU STEEL BUILDING SYSTEMS              PFAU STEEL BUILDING INC                  PHH MORTGAGE
800 38TH ST NW                           800 38TH ST NW                           PO BOX 5452
FARGO ND 58102-2959                      FARGO ND 58102-2959                      MOUNT LAUREL NJ 08054-5452




PREMIUM WATERS                           PRO LANDSCAPERS LLC                      PRODUCTIVITY PLUS ACCOUNT
4402 2ND AVE S 2                         1841 43RD ST N STE B                     DEPT 93
FARGO ND 58103-1017                      FARGO ND 58102-2826                      PO BOX 688912
                                                                                  DES MOINES IA 50368-8912




PROLANDSCAPERS LLC                       PORTFOLIO RECOVERY ASSOCIATES LLC        QUANTUM3 GROUP LLC AS AGENT FOR
1841 43RD ST N STE B                     PO BOX 41067                             COMENITY BANK
FARGO, ND 58102-2826                     NORFOLK VA 23541-1067                    PO BOX 788
                                                                                  KIRKLAND WA 98083-0788




R J ZAVORAL SONS INC                     RADIO CONNECTIONS INC                    RALPH T MAHLER
1706 BYGLAND RD SE                       1909 27TH ST S UNIT B                    10402 SW TOWNLINE ROAD
P O BOX 435                              MOORHEAD MN 56560-3850                   PELICAN RAPIDS MN 56572-9323
EAST GRAND FORKS MN 56721-0435




RDO EQUIPMENT CO                         REARDON OFFICE EQUIPMENT                 REINER CONTRACTING INC
PO BOX 7160                              PO BOX 128                               21541 HWY 7 WEST
FARGO ND 58106-7160                      MOORHEAD MN 56561-0128                   HUTCHINSON MN 55350-4340




RICHARD BAKKEN                           RISBERG                                  RIVER BEND INDUSTRIES
1703 13TH ST                             PO BOX 954                               2421 16 AVE S
MOORHEAD MN 56560-3736                   WEST FARGO ND 58078-0954                 MOORHEAD MN 56560-3806
             Case AS
PARTIES DESIGNATED 17-60631      DocNOT
                      "EXCLUDE" WERE  60 SERVED
                                           FiledVIA
                                                  09/26/19
                                                    USPS FIRST Entered   09/26/19 13:32:56 Desc Main
                                                                CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                            Document       Page 11 of 12
ROCK SOILD MASONRY INC                   RP CAPITAL CORPORATION                   SABIN C STORE
2508 WILLOW RD N                         5810 W 78TH ST STE 175                   PO BOX 156
FARGO ND 58102-2137                      BLOOMINGTON MN 55439-2614                SABIN MN 56580-0156




SAMS CLUB MCSYNCB                        SUNTRUST BANK                            SYNCHRONY BANK
PO BOX 960013                            PO BOX 791144                            PO BOX 960061
ORLANDO FL 32896-0013                    BALTIMORE MD 21279-1144                  ORLANDO FL 32896-0061




STATE OF MINNESOTA                       SYNCHRONY BANK                           TEEJAY STEVENS
DEPT OF REVENUE                          CO PRA RECEIVABLES MANAGEMENT LLC        7006 3RD STREET
PO BOX 64447 - BKY                       PO BOX 41021                             LAKE PARK MN 56554-4231
ST PAUL MN 55164-0447                    NORFOLK VA 23541-1021




THE GUARANTEE COMPANY                    THE HANOVER INSURANCE GROUP              THREE RIVERS TRANSPORT
JOSEPH NILAN                             PO BOX 580045                            678 21ST AVE NORTH
100 WASHINGTON AVE S STE 1550            CHARLOTTE NC 28258-0045                  WAHPETON ND 58075-3027
MINNEAPOLIS MN 55401-2154




TOWN COUNTRY OIL CO                      TRUCK LICENSING                          TWIN VALLEY TIRE INC
PO BOX 559                               4141 38TH ST SW SUITE B                  516 WEST 4TH AVE
MOORHEAD MN 56561-0559                   FARGO ND 58104-6919                      MILBANK SD 57252-2201




THE GUARANTEE COMPANY OF NORTH AMERICA   ULTIMATE TRANSPORTATION                  UNITED RENTALS INC
USA                                      492 36TH ST SW                           PO BOX 840514
CO GREGERSON ROSOW JOHNSON NILAN LTD     FARGO ND 58103-2220                      DALLAS TX 75284-0514
100 WASHINGTON AVE S SUITE 1550
MINNEAPOLIS MN 55401-2154




EXCLUDE                                  VERIZON WIRELESS                         VERN WHITTEN PHOTOGRAPHY
US TRUSTEE                               PO BOX 25505                             1518 7TH STREET SOUTH
1015 US COURTHOUSE                       LEHIGH VALLEY PA 18002-5505              FARGO ND 58103-4232
300 S 4TH ST
MINNEAPOLIS MN 55415-3070




VICTOR MARICHALAR                        VOGEL LAW FIRM LTD                       WALLWORK TRUCK CENTER
2830 7TH W APT 308                       PO BOX 1389                              PO BOX 1819
WEST FARGO ND 58078-6917                 FARGO ND 58107-1389                      FARGO ND 58107-1819




WASTE MANAGEMENT                         WELLS FARGO BANK                         WELLS FARGO EQUIPMENT FINANCE
PO BOX 4648                              600 S 4TH ST 13TH FLOOR                  NW8178
CAROL STREAM IL 60197-4648               MINNEAPOLIS MN 55415-1526                PO BOX 4648
                                                                                  MINNEAPOLIS MN 55485-0001
             Case AS
PARTIES DESIGNATED 17-60631      DocNOT
                      "EXCLUDE" WERE  60 SERVED
                                           FiledVIA
                                                  09/26/19
                                                    USPS FIRST Entered   09/26/19 13:32:56 Desc Main
                                                                CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                            Document       Page 12 of 12
WEST CENTRAL INITIATIVE                  WESTERN NATIONAL INS GROUP               WEX BANK
1000 WESTERN AVE                         PO BOX 59184                             PO BOX 6293
FERGUS FALLS MN 56537-4805               MINNEAPOLIS MN 55459-0184                CAROL STREAM IL 60197-6293




WINZER                                   WORKFORCE SAFETY INSURANCE               XCEL ENERGY
PO BOX 671482                            CO BANK OF NORTH DAKOTA                  PO BOX 9477
DALLAS TX 75267-1482                     PO BOX 5550                              MINNEAPOLIS MN 55484-0001
                                         BISMARCK ND 58506-5550




                                         EXCLUDE
ZIEGLER INC                                                                       NATALIE L HAZELTON
SDS 120436                               DAVID G VELDE                            4433 4TH ST S
PO BOX 86                                1118 BROADWAY                            MOORHEAD MN 56560-6739
MINNEAPOLIS MN 55486-0086                ALEXANDRIA MN 56308-2530




                                         DEBTOR
RYAN MURPHY
FREDRIKSON BYRON PA                      TRACY A HAZELTON
200 S SIXTH STREET                       4433 4TH ST S
SUITE 4000                               MOORHEAD MN 56560-6739
MINNEAPOLIS MN 55402-1425
